  Case 18-30609           Doc 33      Filed 10/01/18 Entered 10/01/18 15:00:29                 Desc Main
                                        Document     Page 1 of 3



                               UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS (SPRINGFIELD)



IN RE:                                                             Case No. 18-30609-EDK
                                                                   Chapter 13
Mario A. Gordon,

Debtor.


                          OBJECTION TO DEBTOR’S CHAPTER 13 PLAN

       Now Comes Federal National Mortgage Association and files its objection to the Debtor’s
Chapter 13 Plan. In support of its objection, Federal National Mortgage Association states as follows:

          1. Federal National Mortgage Association is the holder of the first mortgage on the debtor’s
             property located 26 Shady Brook Ln, Springfield, MA.

          2. The mortgage to Federal National Mortgage Association is in default with a pre-petition
             arrearage of $21,228.87 and an unpaid principal balance of $127,371.57. By the filing of its
             objection, Federal National Mortgage Association sets forth its demand for payment and
             intent to hold the debtor liable for the debt. The Proof of Claim was filed on September 7, 2018.
             See Claim No. 4.

          3. The debtor’s Chapter 13 Plan provides for the payment of $18,532.68 in pre-petition arrears
             to Federal National Mortgage Association.

          4. Thus, the debtor’s plan fails to provide for the payment of Federal National Mortgage
             Association’s entire pre-petition arrearage.

       WHEREFORE, Federal National Mortgage Association respectfully requests that the Court deny
confirmation of the debtor’s Chapter 13 Plan or for such other relief as the Court deems just and proper.

                                                     Respectfully submitted,

                                                     Federal National Mortgage Association,
                                                     By its Attorney

                                                     /s/Joshua Ryan-Polczinski
                                                     Joshua Ryan-Polczinski
                                                     BBO# 678007
                                                     Harmon Law Offices, P.C.
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Dated: 10/01/2018
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                                      Document     Page 2 of 3




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                          DISTRICT OF MASSACHUSETTS (SPRINGFIELD)



IN RE:                                                            Case No. 18-30609-EDK
                                                                  Chapter 13
Mario A. Gordon,

Debtor.


                                       CERTIFICATE OF SERVICE

        I, Joshua Ryan-Polczinski, state that on October 1, 2018, I electronically filed the foregoing
document with the United States Bankruptcy Court for the District of District of Massachusetts on behalf of
Federal National Mortgage Association using the CM/ECF System. I served the foregoing document on the
following CM/ECF participants:

Carrie Naatz

Denise M. Pappalardo

Richard T. King


I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed with the
Court on the following non CM/ECF participants:

Lelia Grant
26 Shady Brook Ln
Springfield, MA 01118

Mario A. Gordon
26 Shady Brook Ln
Springfield, MA 01118



                                                    Respectfully submitted,

                                                    Federal National Mortgage Association,
                                                    By its Attorney

                                                    /s/Joshua Ryan-Polczinski
                                                    Joshua Ryan-Polczinski
                                                    BBO# 678007




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  Case 18-30609     Doc 33   Filed 10/01/18 Entered 10/01/18 15:00:29   Desc Main
                               Document     Page 3 of 3


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